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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                            CASE NO: 11-62190-CIV-DIMITROULEAS


     ACCESS FOR THE DISABLED, INC.,
     ROBERT COHEN, and PATRICIA KENNEDY,

             Plaintiffs,

     vs.

     VITO’S GOURMET PIZZA OF CORAL
     SPRINGS, LLC.

             Defendant.

     __________________________________/

            MOTION TO APPROVE CONSENT DECREE AND TO DISMISS WITH
                                 PREJUDICE

             Plaintiffs, ACCESS FOR THE DISABLED, INC., ROBERT COHEN AND

     PATRICIA KENNEDY (“Plaintiffs”), by and through the undersigned counsel,

     hereby files this Motion to Approve Consent Decree and to Dismiss with

     Prejudice, and state the following in support thereof:

             1.     Plaintiffs filed the instant cause of action alleging that the Facility

     operated by Defendant, VITO’S GOURMET PIZZA OF CORAL SPRINGS, LLC.

     (“Defendant”), located at 1321 University Drive, Coral Springs, FL 33065 (the

     “Facility”) violated Title III of the Americans with Disabilities Act, 42 U.S.C. § 12191 et

     seq.

             2.     The matters raised by Plaintiffs’ Complaint have been resolved in

     accordance with the Consent Decree (“Settlement”) attached hereto as Exhibit “1.”


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            3.      In accordance therewith, Plaintiffs request that the Court review, approve

     and ratify the Settlement. Additionally, Plaintiffs request the Court retain jurisdiction

     to enforce the terms of the Settlement. See Association for Disabled Americans v. Key

     Largo Bay Beach, LLC, 407 F. Supp 2d 1321 (S.D. Fla. 2005).

            4.      As part of the Settlement reached between the Parties, Plaintiffs have

     agreed to dismiss the action with prejudice. Accordingly, Plaintiffs request, upon the

     Court’s review, approval and ratification of the Settlement, that this matter be

     dismissed with prejudice.

            WHEREFORE, Plaintiffs respectfully request that this Honorable Court

     enter an Order approving the attached Settlement, dismissing the claims

     asserted by Plaintiffs against Defendant in this action with prejudice, and

     retaining jurisdiction to enforce the Settlement.

            Respectfully Submitted this 15th day of December, 2011.

                                                          /s/ Douglas S. Schapiro
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                                    CERTIFICATE OF SERVICE

            WE HEREBY CERTIFY that a true and correct copy of the foregoing was

     filed electronically using the CM/ECF system on December 15, 2011.



                                                  /s/ Douglas S. Schapiro
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